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                    UNITED STATES COURT OF APPEALS                        FILED
                           FOR THE NINTH CIRCUIT                          SEP 22 2020
                                                                    MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
DISABILITY LAW CENTER OF                       No.   20-35778
ALASKA; et al.,
                                               D.C. No. 3:20-cv-00173-JMK
                Plaintiffs-Appellants,         District of Alaska,
                                               Anchorage
 v.
                                               ORDER
KEVIN MEYER, Lieutenant Governor of
Alaska; STATE OF ALASKA, DIVISION
OF ELECTIONS,

                Defendants-Appellees.

Before: O’SCANNLAIN, RAWLINSON, and CHRISTEN, Circuit Judges.

      The motions for leave to become amici curiae (Dkt. Nos. 14 and 17) are

granted. The Clerk shall file the amicus briefs submitted on September 16, 2020

and September 17, 2020.

      Appellants’ emergency motion for injunctive relief pending appeal (Docket

Entry No. 3) is denied.

      The briefing schedule established previously remains in effect.




KWH19-/MOATT
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